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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA

Vs.                          CASE NO. 4:12cr00044-02 JMM

DANIEL GARCIA-ARELLANO, USM Number 26801-009


                                         ORDER

       Due to a clerical error, the Judgment entered in this case on September 20, 2013

(DE #99) is amended to correct a clerical error. The term of imprisonment is eighty-seven

(87) months, as stated on record. The remaining portions of the Judgment will remain in

full force and effect.

       The Clerk is directed to provide a copy of this order to the United States Probation

Office, the United States Marshals Office.

       IT IS SO ORDERED THIS 22nd day of October, 2013.




                                             UNITED STATES DISTRICT JUDGE
